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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES, et al.,
Plaintiffs,
VS. Case No: 1:23cv108 LMB/JFA
GOOGLE LLC,
Defendant.

JULY 26, 2024 DECLARATION OF RICHARD EATON

I, Richard Eaton, hereby deposes and says as follows:

1. My name is Richard Eaton, and I am the Chief Financial Officer of Yieldmo, Inc.
(“Yieldmo”), a non-party in the above-referenced matter.

2. Yieldmo is a privately held company that employs approximately 135 people,
principally in the U.S.

3. Between May 23, 2024 and June 6, 2024, I received five (5) emails from the U.S.
Department of Justice (“DOJ”) informing me about Confidential Yieldmo
information that was being maintained under seal in the above-captioned case, but
also informing me that unless Yieldmo took steps to request the Court to continue
to maintain that Confidential Information under seal, there was a possibility that
the Confidential Yieldmo Information would not stay under seal and instead
would be made public. Copies of these emails were attached as Exhibit 2 to Non-
Party Yieldmo’s Response In Support Of Plaintiffs’ And Defendant’s Motions To
Seal. (Dkt. 840.)

4. Ihave now been provided with redacted versions of certain proposed trial exhibits

that Plaintiffs and Google intend to use at the trial of the above-captioned matter.
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5. I have reviewed these proposed trial exhibits, and they include highly confidential
and competitively sensitive Yieldmo information, including net revenue, “take
rates,” market share and other highly confidential, proprietary and competitively
sensitive financial and other information.

6. In fact, if information regarding take rates and spend is disclosed, then
competitors can derive revenue numbers (also referred to as “ad exchange fees”).
Similarly, if spend and revenue numbers are disclosed, then take rates can be
derived — again, very highly confidential and proprietary information the
disclosure of which would cause irreparable injury to Yieldmo, as well as other
competitors in the industry.

7. The information at issue constitutes confidential financial and business
information that, if disclosed, would likely cause irreparable harm to Yieldmo,
including but not limited loss of competitive advantage and financial harm.

8. The information at issue also constitutes core financial information for Yieldmo’s
business. It reveals how Yieldmo charges for its services and the market penetration
and success of its exchange, and shows how Yieldmo’s rates compare to those
charged by others in the industry. This information is not available to the public and
would be of significant benefit to competitors looking for ways to undercut
Yieldmo, or otherwise take market share.

9. Portions of the documents described above list rates charged by Yieldmo and
analyze them in comparison to rates charged by our competitors, information that

would harm Yieldmo if disclosed to our competitors.

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10. Further, the public disclosure of the information contained in these proposed
exhibits would also be of very substantial concern to other competitors in this
industry. In addition, portions of the documents would enable competitors, Wall
Street analysts and others to derive rates charged by Yieldmo and analyze them in
comparison to rates charged by other competitors, information that would harm
Yieldmo if disclosed to such competitors.

11. These concerns also apply with equal force to trends in the industry regarding
market share, take rates, gross ad spend and the like, even with respect to public
companies where such information has not previously been exposed to the public.

12. All of these documents were designated by Yieldmo as Confidential or Highly
Confidential under the operative Modified Protective Order (Dkt. 203).

Plaintiff’s Proposed Trial Exhibits Regarding Yieldmo

13. PTX1199 Figure 4, Initial Expert Report of Timothy Simcoe Effective Take Rate
for Worldwide Open Web Display + Video Outstream Impressions. This document
includes information regarding Yieldmo’s “take tates,” which constitutes highly
confidential and competitively sensitive Yieldmo information that is not public.
Disclosure of this information would likely cause irreparable harm to Yieldmo,
including but not limited loss of competitive advantage and financial harm. The
information also constitutes core financial information for Yieldmo’s business. It
reveals how Yieldmo charges for its services and the market penetration and success
ofits exchange, and shows how Yieldmo’s rates compare to those charged by others
in the industry. This information is not available to the public and would be of

significant benefit to competitors looking for ways to undercut Yieldmo, or

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otherwise take market share. Portions of the documents described above list rates
charged by Yieldmo and analyze them in comparison to rates charged by our
competitors, information that would harm Yieldmo if disclosed to our competitors.

14. PTX1200 Figure 5, Initial Expert Report of Timothy Simcoe Worldwide Open Web
Display Impressions. This document includes information regarding the number of
Yieldmo’s worldwide impressions, which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business, It reveals how
Yieldmo’s market penetration and success of its exchange, and the trend of who is
gaining or losing market share. This information is not available to the public and
would be of significant benefit to competitors looking for ways to undercut
Yieldmo, or otherwise take market share.

15. PTX1202 Figure 7, Initial Expert Report of Timothy Simcoe Average Spend Per
1,000 Worldwide Impressions, 2018-2021. This document includes information
regarding Yieldmo’s average dollar spend for worldwide impressions, which
constitutes highly confidential and competitively sensitive Yieldmo information
that is not public. Disclosure of this information would likely cause irreparable
harm to Yieldmo, including but not limited loss of competitive advantage and
financial harm. The information also constitutes core financial information for
Yieldmo’s business. It reveals how Yieldmo charges for its services and the market

penetration and success of its exchange, and shows how Yieldmo’s rates compare

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to those charged by others in the industry. This information is not available to the
public and would be of significant benefit to competitors looking for ways to
undercut Yieldmo, or otherwise take market share. Portions of the documents
described above list rates charged by Yieldmo and analyze them in comparison to
rates charged by our competitors, information that would harm Yieldmo if disclosed
to our competitors.

16. PTX1205 Figure 15, Initial Expert Report of Timothy Simcoe But-for Comparable
Take Rates, Worldwide Impressions. This document includes information
regarding Yieldmo’s “take rates,” which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business, It reveals how
Yieldmo charges for its services and the market penetration and success of its
exchange, and shows how Yieldmo’s rates compare to those charged by others in
the industry. This information is not available to the public and would be of
significant benefit to competitors looking for ways to undercut Yieldmo, or
otherwise take market share. Portions of the documents described above list rates
charged by Yieldmo and analyze them in comparison to rates charged by our
competitors, information that would harm Yieldmo if disclosed to our competitors.

17. PTX1213 Figure 25, Initial Expert Report of Timothy Simcoe But-for Comparable
Take Rates, US Impressions. This document includes information regarding

Yieldmo’s “take rates,” which constitutes highly confidential and competitively

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sensitive Yieldmo information that is not public. Disclosure of this information
would likely cause irreparable harm to Yieldmo, including but not limited loss of
competitive advantage and financial harm. The information also constitutes core
financial information for Yieldmo’s business. It reveals how Yieldmo charges for
its services and the market penetration and success of its exchange, and shows how
Yieldmo’s rates compare to those charged by others in the industry. This
information is not available to the public and would be of significant benefit to
competitors looking for ways to undercut Yieldmo, or otherwise take market share.
Portions of the documents described above list rates charged by Yieldmo and
analyze them in comparison to rates charged by our competitors, information that
would harm Yieldmo if disclosed to our competitors.

18. PTX1233 Figure 51, Initial Expert Report of Robin S. Lee AdX and third-party ad
exchanges’ shares of ad exchange fees from worldwide indirect open-web display
transactions (2022). This document includes information regarding Yieldmo’s
share of ad exchange fees (meaning market share of revenue), which constitutes
highly confidential and competitively sensitive Yieldmo information that is not
public. Disclosure of this information would likely cause irreparable harm to
Yieldmo, including but not limited loss of competitive advantage and financial
harm. The information also constitutes core financial information for Yieldmo’s
business. It reveals how Yieldmo charges for its services and the market penetration
and success of its exchange, and shows how Yieldmo’s rates compare to those

charged by others in the industry. This information is not available to the public and
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would be of significant benefit to competitors looking for ways to undercut
Yieldmo, or otherwise take market share.

19. PTX1237 Figure 47, Initial Expert Report of Robin S. Lee AdX maintains a
substantial share of worldwide indirect open-web display impressions transacted
through ad exchanges (2018-2022). This document includes information regarding
Yieldmo’s market share of impressions, which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business. It reveals how
Yieldmo charges for its services and the market penetration and success of its
exchange, and shows how Yieldmo’s rates compare to those charged by others in
the industry. This information is not available to the public and would be of
significant benefit to competitors looking for ways to undercut Yieldmo, or
otherwise take market share.

20. PTX1238 Figure 48, Initial Expert Report of Robin S. Lee AdX and third-party ad
exchanges’ shares of worldwide indirect open web display impressions among ad
exchange (2022). This document includes information regarding Yieldmo’s market
share of impressions, which constitutes highly confidential and competitively
sensitive Yieldmo information that is not public. Disclosure of this information
would likely cause irreparable harm to Yieldmo, including but not limited loss of
competitive advantage and financial harm. The information also constitutes core

financial information for Yieldmo’s business. It reveals how Yieldmo charges for
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its services and the market penetration and success of its exchange, and shows how
Yieldmo’s rates compare to those charged by others in the industry. This
information is not available to the public and would be of significant benefit to
competitors looking for ways to undercut Yieldmo, or otherwise take market share.

21. PTX1239 Figure 49, Initial Expert Report of Robin 8. Lee AdX earns consistently
high net revenues from the sale of worldwide indirect open-web display
impressions(2018-2022). This document includes information regarding
Yieldmo’s revenues, which constitutes highly confidential and competitively
sensitive Yieldmo information that is not public. Disclosure of this information
would likely cause irreparable harm to Yieldmo, including but not limited loss of
competitive advantage and financial harm. The information also constitutes core
financial information for Yieldmo’s business. It reveals how Yieldmo charges for
its services and the market penetration and success of its exchange, and shows how
Yieldmo’s rates compare to those charged by others in the industry. This
information is not available to the public and would be of significant benefit to
competitors looking for ways to undercut Yieldmo, or otherwise take market share.
Portions of the documents enable competitors, Wall Street analysts and others to
derive rates charged by Yieldmo and analyze them in comparison to rates charged
by our competitors, information that would harm Yieldmo if disclosed to our
competitors.

22. PTX1240 Figure 50, Initial Expert Report of Robin S. Lee AdX maintains a
significant share of ad exchange fees from worldwide indirect open-web display

transactions (2018-2022). This document includes information regarding

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Yieldmo’s revenues, which constitutes highly confidential and competitively
sensitive Yieldmo information that is not public. Disclosure of this information
would likely cause irreparable harm to Yieldmo, including but not limited loss of
competitive advantage and financial harm. The information also constitutes core
financial information for Yieldmo’s business. It reveals how Yieldmo charges for
its services and the market penetration and success of its exchange, and shows how
Yieldmo’s rates compare to those charged by others in the industry. This
information is not available to the public and would be of significant benefit to
competitors looking for ways to undercut Yieldmo, or otherwise take market share.
Portions of the documents enable competitors, Wall Street analysts and others to
derive rates charged by Yieldmo and analyze them in comparison to rates charged
by our competitors, information that would harm Yieldmo if disclosed to our
competitors.

23. PTX1260 Figure 90, Initial Expert Report of Robin S. Lee AdX maintains a
substantial share of US indirect open-web display impressions transacted through
ad exchanges (2018-2022). This document includes information regarding
Yieldmo’s market share of impressions, which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business. It reveals how
Yieldmo charges for its services and the market penetration and success of its

exchange, and shows how Yieldmo’s rates compare to those charged by others in
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the industry. This information is not available to the public and would be of
significant benefit to competitors looking for ways to undercut Yieldmo, or
otherwise take market share. Portions of the documents described above allow
trends to be derived, and gains and losses of competitors derived as well,
information that would harm Yieldmo if disclosed to our competitors.

24. PTX1261 Figure 91, Initial Expert Report of Robin S. Lee AdX and third-party
exchanges’ shares of US indirect open-web display impressions among ad
exchanges (2022). This document includes information regarding Yieldmo’s
market share of impressions, which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business. It reveals how
Yieldmo charges for its services and the market penetration and success of its
exchange, and shows how Yieldmo’s rates compare to those charged by others in
the industry. This information is not available to the public and would be of
significant benefit to competitors looking for ways to undercut Yieldmo, or
otherwise take market share. Portions of the documents described above allow
trends to be derived, and gains and losses of competitors derived as well,
information that would harm Yieldmo if disclosed to our competitors.

25. PTX1262 Figure 92, Initial Expert Report of Robin S. Lee AdX earns consistently
high net revenues from the sale of US indirect open-web display impressions

(2018-2022). This document includes information regarding Yieldmo’s net

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revenues, which constitutes highly confidential and competitively sensitive
Yieldmo information that is not public. Disclosure of this information would likely
cause irreparable harm to Yieldmo, including but not limited loss of competitive
advantage and financial harm. The information also constitutes core financial
information for Yieldmo’s business. It reveals how Yieldmo charges for its services
and the market penetration and success of its exchange, and shows how Yieldmo’s
rates compare to those charged by others in the industry. This information is not
available to the public and would be of significant benefit to competitors looking
for ways to undercut Yieldmo, or otherwise take market share. Portions of the
documents described above allow trends to be derived, and gains and losses of
competitors derived as well, information that would harm Yieldmo if disclosed to
our competitors.

26. PTX1263 Figure 93, Initial Expert Report of Robin S. Lee AdX maintains a
substantial share of ad exchange fees from US. indirect open-web display
impressions(2018-2022). This document includes information regarding
Yieldmo’s market share of revenue, which constitutes highly confidential and
competitively sensitive Yieldmo information that is not public. Disclosure of this
information would likely cause irreparable harm to Yieldmo, including but not
limited loss of competitive advantage and financial harm. The information also
constitutes core financial information for Yieldmo’s business. It reveals how
Yieldmo charges for its services and the market penetration and success of its
exchange, and shows how Yieldmo’s rates compare to those charged by others in

the industry. This information is not available to the public and would be of

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significant benefit to competitors looking for ways to undercut Yieldmo, or
otherwise take market share. Portions of the documents described above allow
trends to be derived, and gains and losses of competitors derived as well,
information that would harm Yieldmo if disclosed to our competitors.

27. PTX1265 Figure 95, Initial Expert Report of Robin S. Lee AdX maintains a
substantial share of worldwide indirect open-web display spend transacted through
ad exchanges (2018-2022). This document includes information regarding
Yieldmo’s market share of ad spend, from which take rates can be derived, which
constitutes highly confidential and competitively sensitive Yieldmo information
that is not public. Disclosure of this information would likely cause irreparable
harm to Yieldmo, including but not limited loss of competitive advantage and
financial harm. The information also constitutes core financial information for
Yieldmo’s business. It reveals how Yieldmo charges for its services and the market
penetration and success of its exchange, and shows how Yieldmo’s rates compare
to those charged by others in the industry. This information is not available to the
public and would be of significant benefit to competitors looking for ways to
undercut Yieldmo, or otherwise take market share. Portions of the documents
described above allow trends to be derived, and gains and losses of competitors
derived as well, information that would harm Yieldmo if disclosed to our
competitors.

28. PTX1266 Figure 96, Initial Expert Report of Robin S. Lee AdX maintains a
significant share of US indirect open-web display spend. This document includes

information regarding Yieldmo’s ad spend, from which take rates can be derived,

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